                               United States Court of Appeals
                                      For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                    St. Louis, Missouri 63102
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Michael E. Gans
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 Clerk of Court
                                                                              www.ca8.uscourts.gov

                                                            June 29, 2023


Mr. Josh Sanford
SANFORD LAW FIRM
Kirkpatrick Plaza, Suite 510
10800 Financial Centre Parkway
Little Rock, AR 72211

         RE: 21-3537 Anthony Vines, et al v. Welspun Pipes Inc., et al

Dear Counsel:

       The court has issued an opinion in this case. Judgment has been entered in accordance
with the opinion.

        Please review Federal Rules of Appellate Procedure and the Eighth Circuit Rules on post-
submission procedure to ensure that any contemplated filing is timely and in compliance with the
rules. Note particularly that petitions for rehearing and petitions for rehearing en banc must be
received in the clerk's office within 14 days of the date of the entry of judgment. Counsel-filed
petitions must be filed electronically in CM/ECF. Paper copies are not required. Except as
provided by Rule 25(a)(2)(iii) of the Federal Rules of Appellate Procedure, no grace period for
mailing is allowed. Any petition for rehearing or petition for rehearing en banc which is not
received within the 14 day period for filing permitted by FRAP 40 may be denied as untimely.

                                                            Michael E. Gans
                                                            Clerk of Court

MTB

Enclosure(s)

cc:      Mr. Alexander Dylan Clark
         Ms. Clerk, U.S. District Court, Eastern District of Arkansas
         Mr. J. Bruce Cross
         Mr. Daniel D. Ford
         Mr. Gregory J. Northen

            District Court/Agency Case Number(s): 4:18-cv-00509-BRW




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